                       Case 5:21-cv-00864-SLP Document 2 Filed 08/31/21 Page 1 of 2
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
Albert Brown                                                   )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No. CIV-21-864-SLP
                                                               )
Account Resolution Services LLC                                )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
Account Resolution Services LLC
1643 NW 136th Ave.
Sunrise, FL 33323


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:

Tiffany Hill, Esq.
PO Box 5302
Edmond, OK 73083
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                             3:19 pm, Aug 31, 2021




Signed and sealed by the Clerk of the Court or Deputy Clerk.
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 &LYLO$FWLRQ1R CIV-21-864-SLP

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
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           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
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 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
